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  8                       UNITED STATES DISTRICT COURT
  9         CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
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 11    SHAWN SOBBI, an individual,              CASE NO.: 2:19−cv−04555 MWF (ASx)
 12                       Plaintiff,
                                                ORDER RE: JOINT STIPULATION
 13    v.                                       FOR DISMISSAL WITH
                                                PREJUDICE
 14    WAL-MART ASSOCIATES, INC., a
       Delaware Corporation; WAL-MART
 15    INC., a Delaware Corporation and         Courtroom: 5A
       DOES 1 through 50, inclusive             District Judge: Michael W. Fitzgerald
 16                                             Magistrate Judge: Alka Sagar
                          Defendants.           Complaint Filed: May 10, 2019
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 19         Having properly read and considered the Parties’ Joint Stipulation of Dismissal
 20   with Prejudice, IT IS HEREBY ORDERED, that the Joint Stipulation of Dismissal
 21   with Prejudice is GRANTED.
 22         IT IS SO ORDERED.
 23

 24   Dated: January 11, 2021
                                       MICHAEL W. FITZGERALD
 25                                    UNITED STATES DISTRICT JUDGE
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                          ORDER JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE
                                                 CASE NO. 2:19−cv−04555 MWF (ASx)
